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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE


BLACKBIRD TECH LLC,                               :
                                                  :
                          Plaintiff,              :
                                                  :
                v.                                :       Civil Action No. 15-56-RGA
                                                  :              Consolidated
ELB ELECTRONICS INC.,                             :
                                                  :
                          Defendant.              :



                                       PRETRIAL STATUS ORDER

       The above-captioned case is scheduled for a jury trial on December 7, 2020.

In order for the Court to consider necessary trial logistics that result from COVID-19 concerns,

the Court directs that the parties submit a status report no more than three business days from

today, addressing any issues the parties think the Court needs to consider, and, in any event, the

following:

       1. Identification of the expected live witnesses, including where they will be traveling

             from and any concerns relating to live in-person testimony.

       2. The anticipated number of hours each side thinks it will require to fairly present its

             case, with the number of hours understood to be the total of opening statements and

             witness testimony, but not including voir dire, closing argument, and proceedings

             outside the presence of the jury.

       3. The minimum number of attorneys needed to appear in front of the jury, including

             identification of those attorneys and any concerns relating to their presence in the

             courtroom.



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      4. The parties’ thoughts about in-person live testimony, remote live testimony, or a

          combination of the two.

IT IS SO ORDERED this 21 day of October, 2020.


                                       /s/ Richard G. Andrews
                                       United States District Judge




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